
10 So.3d 713 (2009)
Brenda D. DICKINSON and Vicki A. Woolridge, Appellants,
v.
DIVISION OF LEGISLATIVE INFORMATION SERVICES OF the FLORIDA OFFICE OF LEGISLATIVE SERVICES, State of Florida Commission on Ethics and Ken Pruitt, as President of the Florida Senate, Appellees.
No. 1D07-3827.
District Court of Appeal of Florida, First District.
June 12, 2009.
Mark Herron and Robert J. Telfer, III of Messer, Caparello, &amp; Self, P.A., for Appellants.
Scott D. Makar, Solicitor General and Louis F. Hubener, Chief Deputy Solicitor General, Tallahassee, Attorneys for DLIS and FCOE and Kenneth W. Sukhia and David P. Healy, Tallahassee, Attorneys for Ken Pruitt, for Appellees.
PER CURIAM.
AFFIRMED. See Fla. Ass'n of Prof. Lobbyists, Inc, et al. v. Div. of Legis. Info. Svcs. of Fla. Office of Legis. Svcs. et al., 7 So.3d 511 (Fla.2009).
ALLEN, BENTON and BROWNING, JJ., concur.
